                Case 1:17-sw-00449-TCB Document 14 Filed 06/26/18 Page 1 of 16 PageID# 234


 AO'93 (Rev. 11/13)Search and Seizure Warrant



                                                United States District Court
                                                                             forthe

                                                                  Eastern District of Virginia

                   In the Matter ofthe Search of
              (Briejfy describe the property to be searched
               or identify the person Ity name and address)                           Case No.      1:17SW449
      THE PREMISES L0CATED|
                           ALEXANDRIA, VIRGINIA 22314
                                                                                                    UNDER SEAL

                                                     SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
        An application by a federal law enforcement ojBBcer or an attorney for the goveniment requests the search
ofthe following person or property located in the           Eastern           District of                Virginia
(identify ibe person or describe the property to be searched andgive its location):



     See Attachment A




         I find that the afiSdavit(s), or any recorded testimony, establish probable cause to search and seize the person or properly
described above, and that such search will reveal(identify the person or describe the property to be seized):


    See Attachment B




         YOU ARE COMMANDED to execute this warrant on or before                  August s, 2017        (not to exceed14 dcys)
      QT in file daytime 6:00 a.m.to 10:00 p.m. □ at any time in the day or night because good cause has been established.

        Unless delayed notice is authorized below, you must give a copy ofthe warrant and a receipt for the property taken to the
person firom whom, or from whose premises, fiie property was taken, or leave the copy and receipt at the place where the
property was taken.
         The officer executing this warrant, or an officer present during the execution ofthe warrant, must prepare an inventory
as required by law and promptly return this warrant and inventory to                 Honorable Theresa C. Buchanan               .
                                                                                                        (United States Magistrate Ju^e)

     □ Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and au&oiize the officer executing this warrant to delay notice to the person who, or whose
properly/wiUbe searched or seized (check the appropriate box)
      .□ for /iw days jhbf to exceed 30)             O until, the facts justi^dng, the later specific date of
                                   I        j                 ^                                             TJj^^^sa^arro;!] Buchanan
                                                                                                                                            ^




Date and time issued:             I
                                       )j}^j/ 1 "1        11 .                                   ^ J.                  tales Mag:isti-ate
                                                                                                                Judge 'ff signature

City and State:             Alexandria, Virginia                                                    Honorable Theresa 0. Buchanan
                                                                                                              Printed name druS title
            Case 1:17-sw-00449-TCB Document 14 Filed 06/26/18 Page 2 of 16 PageID# 235


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                                                                 Return

 Case No.:                              Date md time warrant executed: .      Copv of wfflxant^d inv^tory left with:
    1:17SW449                              ihQzoiy                               Vaul Mcmaffai'ir
Inventoiy made in the presence of:
                                               JcLU^l
Inventoiy ofthe property taken and name ofany persQn(s)seized:




                           'Sr^L^cJ^(                                      iBj
                                         oF                                                For possiL^^
                       ■ o^-^iorne.^- c li^Ai- p'C/|/r/^^£




                                                              Certification



         I declare under penalty ofperjury that this inventoiy is correct and was returned along with the original warrant to the
designated judge.



Date: KA/ 1 ^                                                                                          'gnature



                                                                                       Printed name ahd tih
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Attachment A                  UNITED STATE DEPARTMENT OF JUSTICE
                                FEDERAL BUREAU OF INVESTIGATION
                                    Receiptfor Property    Recelved/Retumed/Released/Seized




On (date)     7/26/2017                                                                       itemis)listed below were:
                                                                                              □ Received From
                                                                                              □ Received To
                                                                                              □ Released To
                                                                                              IS! Seized

(Name)                   Paul Manafprt
(Street Address)
(City)                   Alexandria, VA 22314


Description of Item(s):
Financial documents, calenders, list of passwords
Business agreement
Papers with e-mail addresses, handwritten notes, letter from]                  :orrespondence, envelopes from
financial institutions

Capital One statement + deposit acc                       Capital One statement -i- deposit acc                  Capital
One deposit acctttl
M+TBank Accti                     I+T Bank Acc

Various banking deposit slips from Citibank, Wells Fargo, acct statements Citigold acctf|||^^^H transfer +
acct statements Citigold acc
Handwritten list of contacts

Hudson City Savings Bank Acct#|                   ; Hudson City Savings Bank Acct#|
Transaction Register: "Capital One", Transaction Register: "Opened Mar 20,2013", Transaction Register:


Capital One brokerage statement ac                        Capital One acct. profile + agreement acct:
Rrst Repub. Bank acct statement:!                      [First Repub. Bank acct statement:!
Nine (9) green hanging file folders containing financial and other documents
Thirteen (13) green hanging file folders containing documents
Safety deposit key number 55 with enyelqpe labeled "CCFSB"
1 Citibank banking document, handwritten notes on yellow lined paper, with envelope "Davis, Manafort Inc
                                         dexandria Virginia 22314"
4 Capitol.One banking documents with envelope "Hudson M&T savings"
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                          UNITED STATE DEPARTMENT OF JUSTICE
                           FEDERAL BUREAU OF INVESTIGATION
                                Receiptfor Property   Received/Returned/Released/Selzed

File#:


Eight(8)documents from hanging file drawer #4, plus one(1)green hanging file
Seven(7)green and five(5) brown hanging file folders containing documents.
Check for USB acct:l
One(1)deposit slip, Two(2)documents from Charles Schwab re: closure of accounts; one addressed to Paul
Manafort^ one addressed to
Pack of4 DVD discs,"Hyatt Regency Kyiv" notepaper used to make handwritten notes mentioning "laptop",
"flashdrin","and "disc"
1 black external hard drive "simpletech" logo.SN: unknown;BOM No:|
1 Blue external hard drive -"WD"logo SN:|
American Express Business Platinum,]                         mding in I        Ramshead Farm

UBS Vlsa,!!!!^^^^^^^^ ending Inj^B                         Ramshead Farms LLC Paul Manafort,ending InH
UBS Visa, LOAV LTD Paul J. Manafort, ending InHI UBS Visa,John Hannah LLC Paul J. Manafort,ending In

SIO,drawer two; including financial documents. Box 2of 2.
SIO,drawer three, including real estate,inheritance,investment,tax, retirement and art purchase documents
SIO,drawer one,including financial and real estate document
SIO,drawer two;including real estate and financial documents. Box 1 of 2.
Twenty(20)documents containing financial + other information, located In Charles Schwab folder on built-in
library shelf
Financial document
1 black watch,labeled "The Royal Way,Bijan, N03"
512 MB Sandisk SD Card from Nikon Cool Pics FN-1 located in black case in black/red camera/video bag
32GB Transcend SD card located In Go Pro Hero 2from black bower camera bag
18G Transcend SD card;132GB SD card Nikon D-7000 located In black/red Tamrac camera bag
1GB Sandisk card from Casio EXtLIM camera from gray mesh bag
Black Sony stick 32GB located in a Sony camera from black Lo Pro bag
16GB San Disk SD Card from Nikon D-90 located In black Nikon camera bag
Micro SD 64G -found in Nikon i camera from bright green Tumi camera bag
16 GB Sandisk SD card from Nikon Cool Pics S-9700 located in bright green Tumi camera bav
116GB Sony memory stick pro located in Sony handicam from Sony leather handicam case in clear ziploc
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                             UNITED STATE DEPARTMENT OF JUSTICE
                              FEDERAL BUREAU OF INVESTIGATION
                                 j Receiptfor Propofty   Recelved/Retumed/Released/Selzed




 iPod,64GB,SN:|
32GB Transcend 32GB SO card located In Panasonic HCV7(X)M video camera + biacK/red video bag
216M6 Lexer compact flash cards;1 Viking 128MB compact flash card;1 San Disk 4GB SD card; 1 San Disk
256MB memory stick; 18MB Sony mega memory stick; 1G4 MB Sony memory stick; 116GB Sony memory stick
2GB Polaroid SD card located in Casio camera

8GB Sony memory stick located in Sony cyber shot in black pouch + black mesh bag
Lexer 1GB SD card located |n Casio EX-Z1200,in black mesh bag
4 GB memory stick, Sony,located In Sony cyber shot in black Sony pouch
4GB San Disk SD card located in Canon power shot XS210 in black camera bag
G Drive Slim,500GB;SNj
RMK.MacBookJVir.Western Digital WD75O0BPIOC-G0HPJT0 750GB hard drive,                                   containing
memory dump and image of a 500GB solid state drive from an Apple MacBook Air model A1466,S/N

Western Digital external hard drive,SN:I
4 Citibank financial documents
2 M&T banking statements(accts:|||||||                          One brokerage statement(accts            ^
property tax assessments(Land Rover Financial Group)
iPad-64GB SN:|
Iomega hard drive; model 31905000;SN:|
Mobile Mate SD+ memory card reader - San disk; Memorex 8GB Megalravel Drive, w/case - in Ziploc bag
Iomega hard drive; model# 31847300 SN:|                     in black case

(6)Six blue thumbdrives;(2)Two pinkthumbdrives
HP Mobile USB Drive; K)t#D0549A, Drive Spare #348648:001 Cable Spare #348649-001
Seagate Go Flex hard drive S/N:I
iPad-64GB serial#:I

iPhone In black and orange case IMEI:|
Sony micro vault pro -5GB SN:I            I located in blue case
DEWF^COMBOl:A1TB HGST HDD,S/N:|                               I containing forensic images and device extractions
from rooms: C, F, K, and Q
5 UBS checks from 5 different accounts
  Case 1:17-sw-00449-TCB Document 14 Filed 06/26/18 Page 6 of 16 PageID# 239



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                          UNITED STATE DEPARTMENT OF JUSTICE
                            FEDERAL BUREAU OF INVESTIGATION
                                   Receipt for Propeity   Reeeived/Returned/Released/Seized

File#:


6 blank deposit slips from various banks,7 check reorder forms from various banks,1 top page of Merrill Lynch
checkbook
Financial records
Documents of personal letters, vehicle information,e-mail Information,contact information. Politico article
"Mystery Man; Ukraine's U.S. Political Fixer."
iomega portable hard drive 1TB SN|
Documents and seal for JESAND, LLC

Life insurance policy information from Northwestern Mutual
Estimates and/or quotes of high dollar Itemsfrom Mallett, Inc.
Art records and financial records and home appraisals



 Received By                                                      Received From Paul Manafort


  (signature)                  ^                                      (signature)
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ATTACHMENT B

List ofitems digitally imaged on-premises, not physically taken:

   RMC_IPOD_TOUCH - Apple iPod Touch 8 Gigabyte(GB)4th Generation, Model: A1367,
   MC540LL/A,Serial Number(S/N):                         ^     system and logical extraction
   was made.                                                              '
   RMF.IMAC - Apple iMac(27-inch, Mid 2011), Model: A1312,S/N:■■■■■
   BMC No:2429 containing a 250 GB Apple Solid State Drive(SSD),Model: TS256C,S/N:
   limillllllll^^^B and a 1 TB Western Digital Hard Disk Drive(HDD),Model:
   WD1001FALS-403AA0,S/N:B|^B||||||H|h^date and time ofthe device was
   accurate. The owner supplied the passwordTfj^^H                       access to the
   computer and the WiFi networking was turned off at approximately 7:29 AM.A memory
   capture was made ofthe running computer. No encryption was detected on the internal
   HDDs.
   RMF_IPH0NE7 - Black Apple iPhone 7 32 GB,Model: A1660/ MNAC2LL/A,S/N:
                       1ME1:||^HIHI|||ICCIDH^^H^H^||MEE):
                     containin^F5izOT^IM!^^^^H^H|^^^llimntogIOS 10.2.1
  (14D27). There was no Apple ID associated with the phone. The phone name is: iPhone. A
  file system and logical extraction was made ofthe phone and a logical extraction was made
   ofthe SIM card.
   RMF_IP0D_T0UCH1 - Apple iPod Touch 8 GB 4th Generation, Model: A1367,
   MC540LL/A,S/N:                A file system and logical extraction was made.
   RMFJP0D_T0UCH2- Apple iPod Touch 8 GB 4th Generation, Model: A1367,
   MC540LL/A,S/N:               ^ system and logical extraction was made.
  RMF.POD - Apple iPod 160 GB,model: A1238,S/N: ■■■HH A forensic image
   was made. Note: The forensic image was inadvertently named the same as RMF_FLASH10.
   RMF_SDCARD - 512 MB Lexar Platinum SP card. Model: 3401-512SA 4505C, Universal
   Serial Bus (USB) S/N:         A forensic image was made.
   RMF^FLASH2 - 32 GB Monster Digital Flash Drive, USB S/N: j
   forensic image was made.
   RMFJFLASH3 - 4 GB Silver and Clear Flash Drive, USB S/N:                   A forensic image
   was made.
   RMF__FLASH4 - 8 GB Generic Blue Colored Flash Drive, USB S/N:                  A forensic
   image was made.
  RMF_FLASH5 - 8 GB Generic Blue Colored Flash Drive, USB S/N:                     A forensic
   image was made.
  RMF-FLASH6 - 8 GB Generic Blue Colored Flash Drive, USB S/N: |                    A forensic
  image was made.
  RMF-FLASH8 - 64 Megabyte (MB) Dell Flash Drive, USB S/N:
  forensic image was made.
  RMF-FLASH9 - 8 GB Generic Blue Colored Flash Drive, USB S/N: |                   A forensic
  image was made.
  RMF-FLASHIO - 4 GB Highcountry Investments Limited Flash Drive, no S/N. A forensic
  image was made.
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   RMF-FLASHl 1-8 GB Generic Blue Colored Flash Drive, USB S/N:                        A forensic
   image was made.
   RMF-FLASH12 - 8 GB Generic Blue Colored Flash Drive, USB S/N:|                      A forensic
   image was made.
   RMF-FLASH13 -1 GB Blue KWC Flash Drive, no S/N. A forensic image was made.
   RMK_MACBOOK._jAIR - Apple Macbook Air(13-inch, Early 2015), Model: A1466,S/N:
                      ^MC No:2925 containing a 500 GB Apple SSD,Model: SM0512G,S/N:
                       The owner entered the password to unlock the computer. The intemal
   SSD was Apple Filevault encrypted. A memory capture was made ofthe running computer.
   A decrypted image ofthe computer was made.
   RMK_IPH0NE7 - White Apple iPhone 7 32 GB,Model: A1660/ MN8J2LL/A,S/N:
                       IMBI:                                                          MEID:
                      containin^^^Mif^l^^^^^^^^^^a^nglOS 10.3.2
   (14F89). The Apple ID associated with the phoneisim^^^^HB e-
   mail:                                 phone name is: KBM AT&T. A file system and
   logical extraction was made ofthe phone and a logical extraction was made ofthe SIM card.
   RMK_PH0NE7PLUS - Jet Black Apple iPhone 7 Plus 256 GB,Model: A1661 /
   MN4L2LL/A,S/N:                                        ICCID:
                      ^^^^^DDl^^^m^^lcontain^gAT&T SIM:
                             running ICS 10.3.2(14F89). The Apple ID associated with the
   phone is paul manafort,                                      phone name is: Channel 3. A
   file system and logical extraction was made ofthe phone and a logical extraction was made
   ofthe SIM card.
   RMK_IPAD_MINI1 - Black Apple iPad Mini with Retina Display 32 GB,Model: A1490,
   S/N:{■{{■HB||B4SISDN:
   IMSiT^^^^^HI^B containing Verizon                                             running lOS
   10.3.2 (14F89). The Apple ID associated with the table is paul manafort, e-mail:
  limH^IIIIIBIP'he tables name is: iPad. A file system and logical extraction was
   made of the tablet and a logical extraction was made of the SIM card.
   RMK_IPAD_MINI2 - White Apple iPad Mini 64 GB, Model A1455, S/N:
  IMElJHjH^^^^^P MEID: H|||^|H||H containing Verizon SIM:
  ^^B^^^^^^^^^Jrunning ICS 8.1.2 (12B440). The Apple ID associated with the
  tablet is paul manafort, e-mail: ||^^H^^^^^^H|The table name is: Paul IPAD Mini.
   A file system and logical extraction was made of the tablet and a logical extraction was made
   of the SIM card.
   RMK_IPOD_TOUCHl - Apple iPod Touch 8 GB 4th Generation, Model: A1367,
   MC540LL/A, S/N: HKKUKKKM ^                   system and logical extraction was made.
  RMK_IP0D_T0UCH2 - Apple iPod Touch 8 GB 4th Generation, Model: A1367,
  MC540LL/A, S/N:                      ^     system and logical extraction was made.
  RMK_CAMERAJMICROSD - 4 GB Toshiba Micro SD HC memory card fi:om an Olympus
  digital camera, model: Stylus Tough-6000, S/N:             ^ forensic image was made.
  RMK_SONYCAMERA_SDCARD - 4 GB Sony SD HC memory card ftom a Sony Cyber-
  shot digital camera, model: DSC-WX5, S/N: HHI ^ forensic image was made.
  RMK_FLASH1 - 512 MB SanDisk Cruzer Micro. A forensic image was made.
  RMK_FLASH2 - 8 GB Generic Blue Colored Flash Drive. A forensic image was made.
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   RM(i.CAMCORDER_SDCARDl - 32 GB SanDisk Ultra SD HC memory card ftom Slot A
   ofa Canon VIXIA HF G30 camcorder. A forensic image was made.
   RMQ_CAMC0RDER_SDCARD2-64 GB SanDisk Ultm SD XCI memory card ftom Siot
   B ofa Canon VIXIA HF G30 camcorder. A forensic image was made.
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  lAttachment C

                                           Cefll-t                    - pt?C^f Uc.
      ll2^^l^/-7

      " Ci^c-c^ Pi^oi/ipjiA^ f" i f-c ^e>c-iA^t/tACidfx ^CCA^ Ir-cfC ^>r pi?s^fbh

         Vr^on/^ F,                 % cj F Uia^
         s/^
         sp



r2^-    iPliA-C Md-oy^                                ^^C^idrl-c
         j-cAt^^jp^ip^vrs
        i2^om F j Cc^yn^ud''^ d^k ,                  oJ-           ^ CidtL



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       Sa}

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       /,^ aA
        Sj^ tsLrffooO-ey Pn-c.
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 To C                     Cfi




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                        S hpff.
          f^tyyy F- -


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          JT^ ~~

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         Pf^\
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                                       ATTACHMENT A

                                  The Property to Be Searched

        The premises to be searched (the'"Subject Premises") is the condoiniiiiumuiiit located at

                                  Alexandria, VA 22314, including the storage
                                                                           |  unit numbered
 H as well as any locked drawers, containers, cabinets, safes, computers, electronic devices, and
 storage media(such as hard disks or other media that can store data)found therein.
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                                         ATTACHMENT B


                       Items to Be Seized (or,in the alternative,identified)

          1.      Records relating to violations of31 U.S.C.§§ 5314,5322(a)(failure to file a report
  offoreign bank and financial accounts);22 U.S.C. § 611,et seq.(foreign agents registration act);
  26 U.S.C. § 7206(1)(filing a false tax return); 18 U.S.C. § 1014 (fraud in connection with the
  extension ofcredit); 18 U.S.C. §§ 1341,1343,and 1349(mail fraud, wire fraud, and conspiracy to
  commit these offenses); 18 U.S.C. §§ 1956 and 1957(money laundering and money laundering
  conspiracy); 52 U.S.C. §§ 30121(a)(1)(A) and (a)(2) (foreign national contributions); and 18
  U.S.C. §§371 and 2 (conspiracy, aiding'and abetting, and attempt to commit such offenses)
  (collectively, the "Subject Offenses"), occurring on or after January 1, 2006, including but not
  limited to:

          a.     Any and all financial records for Paul Manafort, Jr., m^HH|||^^|^i^ard
                 Gates, or companies associated with Paul Manafort,                                 or
                 Richard Gates,including but not limited to records relating to any foreign financial
                 accounts and records relating to payments by or on behalf of any foreign
                 government, foreign officials, foreign entities, foreign persons, or foreign
                 principals;

          b.    Any and all federal and state tax documentation, including but not limited to
                personal and business tax returns and all associated schedules for Paul Manafort,
                 Jr., Richard Gates, or companies associated with Manafort or Gates;
          c.    Letters, correspondence, emails, or other forms of communications with any
                foreign financial institution, or any individual acting as the signatory or controlling
                any foreign bank acpount;

          d.    Records relating to efforts by Manafort, Gates, or their affiliated entities to conduct
                activities on behalf of, for the benefit of, or at the direction of any foreign
                government, foreign officials, foreign entities, foreign persons, or foreign
                principals, including but not limited to the Party of Regions and Viktor
                Yanukovych;

          e.    Records relating to, discussing, or documenting Telmar Investments Limited,
                Tiakora Ventures Limited, Lucicle Consultants Limited, Actinet Trading Limited,
                Black Sea View Limited, Bletilla Ventures Limited,Evo Holdings Limited, Global
                Highway Limted, Leviathan Advisors Limited, Loav Advisors Limited, Peranova
                Holdings Limited, including but not limited to bank records, canceled checks,
                money drafts, letters of credit, cashier's checks, safe deposit records, checkbooks,
                and check stubs, duplicates and copies ofchecks, deposit items,savings passbooks,
                wire transfer records, and similar bank and financial account records;

          f.    Physical items purchased through the useoffundsfron^ypriot accounts,including
                but not limited to rugs purchased fi'om|B|||^^|||^H^^(jatU31ackTitani^
                "Royal Way" watch, and clothing purchased fi^niBH^HIIIHHIHi
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           g.    Evidence relevant to any false statements, pretenses, representations, or material
                 omissions in connection with communications with the Department of Justice, the
                 Internal Revenue Service, tax preparers, accountants, or banks;

           h.    Communications, records, documents, and other files involving any of the
                 attendees of the June 9, 2016 meeting at Trump tower, as well as Aras and Amin
                 Agalorov;

           i.    Evidence indicating Manafort's state of mind as it relates to the crimes under
                 investigation;

          j.     The identity of any person(s)—including records that help reveal the whereabouts
                 ofthe person(s)—^who communicated with Manafort about any matters relating to
                 activities conducted by Manafort on behalf of,for the benefit of, or at the direction
                 of any foreign government, foreign officials, foreign entities, foreign persons, or
                 foreign principals;

          k.     Any and all daily planners, logs, calendars, or schedule books relating to Manafort
                 or Gates.

         2.      Computers or storage media used as a means to commit the Subject Offenses.

          3.      For any computer or storage medium whose seizure is otherwise authorized by
  this warrant, and any computer or storage medium that contains or in which is stored records or
  information that is otherwise called for by this warrant(hereinafter,"COMPUTER"):

                a. evidence of who used, owned,or controlled the COMPUTER at the time the
                    things described in this warrant were created, edited, or deleted, such as logs,
                    registry entries, configuration files, saved usernames and passwords,
                    documents, browsing history, user profiles, email, email contacts,"chat,"
                    instant messaging logs, photographs, and correspondence;
                b. evidence ofsoftware that would allow others to control the COMPUTER,
                    such as viruses, Trojan horses, and other forms of malicious software, as well
                    as evidence ofthe presence or absence ofsecurity software designed to detect
                    malicious software;

                c. evidence ofthe lack ofsuch malicious software;

                d. evidence indicating how and when the computer was accessed or used to
                   determine the chronological context ofcomputer access, use, and events
                   relating to crime under investigation and to the computer user;
                e. evidence indicating the computer user's state of mind as it relates to the crime
                   under investigation;
                f. evidence ofthe attachment to the COMPUTER ofother storage devices or
                   similar containers for electronic evidence;
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                 g. evidence ofcounter-forensic programs(and associated data)that are designed
                      to eliminate data from the COMPUTER;

                 h. evidence ofthe times the COMPUTER was used;

                 1. passwords, encryption keys, and other access devices that may be necessary to
                      access the COMPUTER;

                 j. documentation and manuals that may be necessary to access the COMPUTER
                      or to conduct a forensic examination ofthe COMPUTER;

                 k. records ofor information about Internet Protocol addresses used by the
                      COMPUTER;

                 1. records ofor information about the COMPUTER'S Internet activity, including
                    firewall logs, caches, browser history and cookies,"bookmarked" or
                    "favorite" web pages, search terms that the user entered into any Internet
                    search engine, and records of user-typed web addresses;
                 m. contextual information necessary to understand the evidence described in this
                    attachment.

         As used above, the terms "records" and "information" includes all forms of creation or

  storage, including any form of computer or electronic storage (such as hard disks or other media
  that can store data); any handmade form (such as writing); any mechanical form (such as printing
  or typing); and any photographic form (such as microfilm, microfiche, prints, slides, negatives,
  videotapes, motion pictures, or photocopies).

         The term "computer" includes all types of electronic, magnetic, optical, electrochemical,
  or other high speed data processing devices performing logical, arithmetic, or storage functions,
  including desktop computers, notebook computers, mobile phones,tablets, server computers,and
  network hardware.

         The term "storage medium" includes any physical object upon which computer data can

  be recorded. Examples include hard disks, RAM,floppy disks, flash memory, CD-ROMs, and

  other magnetic or optical media.
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           EtECTRONic Evidence & Search Warrant TransmtttalForm

  Case No. l:17-SW-449                                              Date:          July 25.2017

                                                                    (S)AUSA:
I.       Type ofLegalRequest;

  □ ECPA Grand Jury Subpoena and Non-Disclosure            □ PRTT/Search Warrant Hybrid
      Order (§§2703(cX2), 2705(b))                    ^      (§§ 3122(a)(1), 2703(c)(1)(A))
  □ ECPA Court Order (§ 2703(d))                          / Regular Search Warrant (Rule 41 (e)(2)(A))
  □ ECPA Content Search (§ 2703(a), (b)(1)(A))            □ ESI Search Warrant (Rule 41(e)(2)(B))
  □ Pen Register/Trap & Trace (§ 3122(a)(1))              □ Tracking Device Search Warrant (Rule 41 (e)(2)(C))
  □ Other
n.       Information To Be Obtained or Items To Be Searched/Seized:


. □ Cell PhoneAccount from Provider                       □ Social Media/Messaging Account from Provider

 □ Land line Account from Provider
                                                          □ Computer/Laptop/Hard Drive/Cell Phone
                                                             (Rule41(e)(2)(A)y
 □ Email Account from Provider                            □ Tracking Device (Rule 41(e)(2)(C))
 □ IP Address from Provider                               / Premises/PropertyAfehicle (Rule 41(e)(2)(A))
 □ Real-Time Cell Site Records from Provider              □ Other
nr.      Investigative Offense:


 □ Drugs                                                  □ Sex Offenses

 □ Extortion/Racketeering                                 □ Tax

 □ Fraud                                                  □ Terrorism

 □ Fugitive/Escape                                        □ Theft

^ □ hnmigration                                           □ Weapons
                                                          / Other 31 U.S.C. §§ 5314 & 5322(a); 22 U.S.C.
                                                          § 611 etseq. (FARA); 18 U.S.C. §§ 2,371,1341,
 □ Kidnapping
                                                          1343, 1349, 1956, & 1957; and 52 U.S.C. §§
                                                          30121(a)(1)(A) & (a)(2)
IV.     Delayed Notice;


; □ ECPANon-Disclosure (§§ 2703(d), 2705(b))              12 Search Warrant Delayed Notice
                                                             (§3103a(b), Rule 41(f)(3))
      □ Initial - 2 years     □ Renewal
. □ ECPANonrDisclosure for Priority Terrorism                □ Rule 41(e)(2)(A), (B), or (C) Warrants
    Enterprise Investigations (§§ 2703(d), 2705(b))          □ § 2703(a), (b)(1)(A), ot (c)(1)(A) Searches
      □ Initial - 3 years     □ Renewal                                     Days
 □ PRTT Non-Disclosure (§§ 3123(d)(2))                                      Days Extension
      □ Initial - 5 years     □ Renewal

                                                                                                  Updated: 5/2/17
